                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION


MICHAEL LANGENHORST, MICHAEL D.
LEMAY, and STEPHEN FIFRICK,

              Plaintiffs,                        Case No. 1:20-cv-01701-WCG
       vs.

LAURE PECORE, in her official capacity as
Clerk of Menominee County, Wisconsin;
SCOTT MCDONELL, in his official capacity
as Clerk of Dane County, Wisconsin;
GEORGE L. CHRISTENSON, in his official
capacity as Clerk of Milwaukee County,
Wisconsin; JULIETTA HENRY, in her official
capacity as Milwaukee County, Wisconsin
Elections Director; RICK BAAS, DAWN
MARTIN, and TIM POSNANSKI, in their
official capacities as Milwaukee County,
Wisconsin Election Commissioners; ANN S.
JACOBS, in her official capacity as Chair of
the Wisconsin Elections Commission; MARK
L. THOMSEN, in his official capacity as Vice-
Chair of the Wisconsin Elections Commission;
MARGE BOSTELMANN, in her official
capacity as Secretary of the Wisconsin
Elections Commission; JULIE M. GLANCEY,
DEAN KNUDSON, and ROBERT F.
SPINDELL, JR., in their official capacities as
Wisconsin Election Commissioners; and
TONY EVERS, in his official capacity as the
Governor of the State of Wisconsin,

              Defendants.


    BRIEF IN SUPPORT OF MOTION OF NON-PARTIES WISCONSIN STATE
 CONFERENCE NAACP, DOROTHY HARRELL, WENDELL J. HARRIS, SR., AND
 EARNESTINE MOSS, TO INTERVENE AND FOR LEAVE TO FILE A RESPONSIVE
          PLEADING ON THE SAME SCHEDULE AS DEFENDANTS
       The Wisconsin State Conference NAACP (“Wisconsin NAACP”) (the “organizational

Applicant”) and Dorothy Harrell, Wendell J. Harris, Sr., and Earnestine Moss (together, the

“individual Applicants”) (collectively, “Applicants”) submit this brief in support of their Motion

to Intervene as Defendants as a matter of right pursuant to Rule 24(a) of the Federal Rules of Civil

Procedure or, in the alternative, for permissive intervention pursuant to Rule 24(b); and for leave

to file and serve their response to the Amended Complaint on the same schedule as Defendants.

                                        INTRODUCTION

       Plaintiffs have launched an all-out attack on votes cast by Black voters in the November 3,

2020 Wisconsin General Election. Faced with making up a state-wide 20,000 vote gap resulting

from an election conducted with remarkable efficiency and transparency in the midst of a global

pandemic, Plaintiffs seek to prevent Wisconsin from certifying the results of the election unless

the result excludes from the certification certain counties, specifically Milwaukee, Dane, and

Menominee Counties. They do so based on untenable and untrue allegations that sufficient illegal

ballots were included in the November 3, 2020 general election results to change or place those

results in doubt. To disallow votes and enjoin certification of an election because of factually

unsupported allegations of “voter fraud” at the cost of hundreds of thousands of votes lawfully

cast—not coincidentally in counties with large numbers of Black voters that President-Elect Biden

won—would be unprecedented and unlawful. Further, it is unconscionable and would severely

undermine faith in the integrity of both this nation’s elections and judicial processes.

       Applicants are critical participants in these actions: as of now, they would be the only

parties in the case that represent the interests of individual voters. They are well-situated to defend

the rights of all Wisconsin voters, and in particular of Black voters, to have their votes count. The

individual Applicants are voters whose lawfully cast ballots would be thrown out if Plaintiffs

obtain the relief they seek. The organizational Applicant, the Wisconsin NAACP, is a nonpartisan


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organization representing the interests of its nearly 4,000 Wisconsin members—many (perhaps

most) of whose votes would also be thrown out—dedicated to eliminating barriers to voting and

increasing civic engagement among its members and in traditionally disenfranchised communities.

        Applicants are entitled to intervene as a matter of right under Federal Rule of Civil

Procedure 24(a)(2) because: (1) Applicants filed this motion without delay; (2) Applicants have

legally protectable interests in ensuring their lawfully cast ballots are counted; (3) the relief

Plaintiffs seek would harm Applicants’ interests; and (4) Applicants’ interests—the counting of

their votes—is distinct from those of the named Defendants. Fed. R. Civ. P. 24(a)(2); Driftless

Area Land Conservancy v. Huebsch, 969 F.3d 742, 746 (7th Cir. 2020).

        Alternatively, Applicants should be permitted to intervene under Rule 24(b). Because

Applicants seek leave to directly challenge Plaintiffs’ attempt to disenfranchise hundreds of

thousands of voters, their claims and defenses necessarily share common questions of law and fact

with the main action, and Applicants’ motion would neither delay nor prejudice the orderly

adjudication of Plaintiffs’ claims. The NAACP-Pennsylvania State Conference, other public-

interest organizations, and individual voters were recently granted permissive intervention in a

very similar case brought by the Trump campaign in the Middle District of Pennsylvania. See

Donald J. Trump for President, Inc. v. Boockvar, No. 4:20-cv-02078-MWB, Document 72 (Nov.

12, 2020, M.D. Pa.) (attached as Exhibit 1 to this brief). 1




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  The Pennsylvania court did not address whether the intervenors there were entitled to intervention as a
matter of right, “because [the court] readily find[s] that they satisfy the requirements for permissive
intervention under Fed. R. Civ. P. 24(b).” Boockvar, at 1-2.

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                                  FACTUAL BACKGROUND

       A.      Plaintiffs Seek to Undo Wisconsin’s Efforts to Ensure that All Lawfully Cast
               Votes Are Counted.

       Among other requests, Plaintiffs seek relief (1) declaring that the “inclusion of illegal votes

in identified counties” violates voters’ rights; (2) declaring that the proper remedy for this

“constitutional violation” is to exclude presidential election results from those identified counties;

(3) declaring that there is “sufficient evidence that illegal votes were counted in the identified

counties to change the results of the November 3, 2020 presidential election”; (4) enjoining the

Defendants from certifying the results of the 2020 General Election without excluding the votes

from Plaintiffs’ “identified counties.” (Am. Compl. at p. 21, ¶¶ 61-64 (Prayer for Relief).)

       Plaintiffs’ 66-paragraph Amended Complaint contains a litany of allegations that

purportedly support these requests for relief. Plaintiffs are wrong on the facts and the law, and they

lack standing to bring their claim in the first place. Therefore, Applicants seek to intervene in this

action to protect the interests of individual voters whose fundamental right to vote is under attack

and to provide the perspective of an organization whose mission is to facilitate full and fair

participation in the electoral process. Applicants have at least as much of an interest in the outcome

of this litigation as Defendants. Indeed, as voters who stand to be disenfranchised if Plaintiffs get

their unprecedented relief, the individual Applicants’ and the NAACP’s members’ interest is

arguably greater. See Jansen v. City of Cincinnati, 904 F.2d 336 (6th Cir. 1990) (allowing

intervention as of right to class of Black fire fighters in challenge by white fire fighters to city’s

diversity hiring program, finding that the city would not adequately protect their interests).

       B.      The Organizational Applicant Promotes the Interests of Voters and Has
               Members Who Would Be Disenfranchised by the Relief Plaintiffs Seek.

       The Wisconsin NAACP is a non-profit advocacy group for civil rights for Black

Americans. It is a nonpartisan organization that represents nearly 4,000 Wisconsin members, many


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of whom are now at risk of being unlawfully deprived of their right to vote. The Wisconsin NAACP

is dedicated to eliminating barriers to voting and increasing civic engagement among its members

and in traditionally disenfranchised communities, and it expends substantial resources on voter

education and turnout efforts. For this election, the Wisconsin NAACP’s efforts have included

providing accurate information to voters on how to cast in-person, mail-in, and absentee ballots to

ensure that voters have a full and fair opportunity to participate in spite of the unprecedented

circumstance of the election taking place during a global pandemic. (Harris Decl. ¶¶ 14-20.) The

Wisconsin NAACP focuses on strategies, including litigation, to eliminate Black voter suppression

in Wisconsin. (Id.) It has members who would be disenfranchised if Plaintiffs obtained the relief

they seek, including members who voted in person in Dane County, members who voted by

absentee ballot in Milwaukee County, and members who voted in other Wisconsin counties.

(Harris Decl. ¶ 17; Harrell Decl. ¶ 8; Moss Decl. ¶¶ 9-10.)

       C.      The Individual Applicants Are Voters Who Would Be Disenfranchised by the
               Relief Plaintiffs Seek.

       Individual Applicant Wendell J. Harris, Sr. (“Harris”) lives in the City of Milwaukee,

located in Milwaukee County, Wisconsin and is registered to vote at his current address in

Milwaukee. (Harris Decl. ¶ 4.) Harris is also a member of the NAACP and has served as President

of the Wisconsin NAACP since November 2019. (Id. ¶ 11.) For the November 3, 2020 General

Election, Harris voted by absentee ballot because he was ill with COVID-19 at the time and was

concerned about infecting others. (Id. ¶ 6.) Harris mailed his ballot from his Milwaukee residence

on October 26, 2020. (Id. ¶ 5.)

       Individual Applicant Earnestine Moss (“Moss”) lives in the City of Madison, located in

Dane County, Wisconsin and has been a registered voter at her current address in Madison since

approximately 2006. (Moss Decl. ¶ 4.) She is also a member of the NAACP Dane County Branch



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36 AB. (Id. ¶ 6.) For the November 3, 2020 General Election, Moss voted in person at her polling

place in Madison. (Id. ¶ 7.)

       Individual Applicant Dorothy Harrell (“Harrell”) lives in the City of Beloit, located in Rock

County, Wisconsin, and has been a registered voter at her current address in Beloit for nearly ten

years. (Harrell Decl. ¶ 4.) Harrell is also the President of the Wisconsin NAACP Beloit Branch.

(Id. ¶ 6.) For the November 3, 2020 General Election, Harrell voted early, in person at Beloit City

Hall during the last week of October 2020. (Id. ¶ 7.)

                                           ARGUMENT

I.     APPLICANTS ARE ENTITLED TO INTERVENE AS A MATTER OF RIGHT.

       Applicants satisfy the criteria to intervene as of right under Fed. R. Civ. P. 24(a).

Intervention as of right must be granted when: (1) the motion to intervene is timely; (2) the

proposed intervenors possess an interest in the subject matter of the action; (3) denial of the motion

to intervene would affect or impair the proposed intervenors’ ability to protect their interests; and

(4) the proposed intervenors’ interests are not adequately represented by the existing parties to the

lawsuit. Driftless Area Land Conservancy v. Huebsch, 969 F.3d 742, 746 (7th Cir. 2020);

Heartwood, Inc. v. U.S. Forest Serv., Inc., 316 F.3d 694, 700 (7th Cir. 2003). Applicants have

satisfied those requirements.

       A.      The Motion to Intervene Is Timely.

       This motion, which is being filed just two days after Plaintiffs initiated this action, is

undoubtedly timely. See, e.g., Uesugi Farms, Inc. v. Michael J. Navilio & Son, Inc., 2015 WL

3962007, at *2 (N.D. Ill. June 25, 2015) (motions filed 4-6 weeks after the complaint are timely);

Planned Parenthood of Wis., Inc. v. Kaul, 384 F. Supp. 3d 982, 985 (W.D. Wis. 2019) (motion filed

“approximately two and a half months after the complaint was filed and within a week of

defendants’ answer” was timely).


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       Applicants’ prompt intervention will not delay the advancement of this action or otherwise

prejudice the parties. Applicants are not seeking additional time for any proceedings, and there is

therefore no plausible claim that intervention would cause any delay, far less any prejudicial delay.

Under these circumstances, the motion is timely. See Lopez-Aguilar v. Marion Cty. Sheriff's Dep't,

924 F.3d 375, 389–90 (7th Cir. 2019) (the “most important consideration in deciding whether a

motion for intervention is untimely is whether the delay in moving for intervention will prejudice

the existing parties to the case.”) (quoting Nissei Sangyo America, Ltd. v. United States, 31 F.3d

435, 439 (7th Cir. 1994)). Applicants’ motion to intervene is timely under Rule 24.

       B.      Applicants Have Sufficient Interest in This Litigation.

       Applicants are entitled to intervene if they have “direct, significant, and legally

protectable” interests in the litigation. Solid Waste Agency of N. Cook Cnty. v. United States Army

Corps of Eng’rs, 101 F.3d 503, 506 (7th Cir. 1996). The Seventh Circuit has embraced the

Supreme Court’s approach of “encouraging liberality in the definition of an interest.” Lopez-

Aguilar, 924 F.3d at 391.

       The interest of the individual Applicants is simple: voters who legally cast ballots in the

2020 election have a significantly protectable interest in ensuring their ballots are counted. See

Reynolds v. Sims, 377 U.S. 533, 555 n.29 (1964) (“There is more to the right to vote than the right

to mark a piece of paper and drop it in a box or the right to pull a lever in a voting booth. The right

to vote includes the right to have the ballot counted.”); see also League of United Latin Am.

Citizens, Dist. 19 v. City of Boerne, 659 F.3d 421 (5th Cir. 2011) (finding a legally protectable

interest where the intervenor sought to protect his right to vote). The Constitution “accords special

protection for the fundamental right of voting, recognizing its essential role in the ‘preservati[on]

of all rights.” Northeast Ohio Coalition for Homeless v. Husted, 696 F.3d 580, 591 (6th Cir. 2012)

(citations omitted).


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       Likewise, the Wisconsin NAACP has an interest in protecting one of the core missions of

the organization—ensuring that its members, and all citizens of Wisconsin, are given a full and

equal opportunity to exercise their fundamental right to vote—to which it has dedicated

considerable effort. The Wisconsin NAACP is committed to eliminating barriers to voting and

increasing civic engagement, especially in communities that have been traditionally

disenfranchised. In pursuit of that mission, it engages in robust voter-registration, voter-education,

and get-out-the-vote activities, expending considerable resources to ensure that eligible voters in

Wisconsin can exercise their right to vote.

       Discarding ballots that have been lawfully cast would undermine the organization’s voter-

advocacy efforts by leading some voters to believe that voting is pointless because their ballots

will not be counted, making it more difficult and more expensive for the Wisconsin NAACP to

carry out its mission in the future. The threat of frustration of this core voter-enfranchisement

mission gives the Wisconsin NAACP a significantly protectable interest in this litigation. See, e.g.,

Common Cause Ind. v. Lawson, 937 F.3d 944, 950 (7th Cir. 2019) (“[A] voting law can injure an

organization enough to give it standing by compelling [it] to devote resources to combatting the

effects of that law that are harmful to the organization’s mission.”).

       The Wisconsin NAACP also has an interest in ensuring that legally cast ballots are not

discarded because that would force the organization to divert resources from other organizational

priorities to educate members and other voters about their rights and the severe restrictions on

voting that Plaintiffs seek to impose. See, e.g., OCA-Greater Houston v. Texas, 867 F.3d 604, 610-

12 (5th Cir. 2017) (finding standing where an organization was required to dedicate additional

resources to assisting voters navigate the polls); Fla. State Conf. of N.A.A.C.P. v. Browning, 522

F.3d 1153, 1164-65 (11th Cir. 2008); Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 951

(7th Cir. 2007), aff’d, 553 U.S. 181 (2008); Issa v. Newsom, No. 2:20-cv-01044, 2020 WL

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3074351, at *3 (E.D. Cal. June 10, 2020). If Plaintiffs were to obtain the relief they seek, the

Wisconsin NAACP would be forced to commit resources immediately to respond to questions

from members and voters about the status of their lawfully cast ballots in this election. In addition,

the diversion of the organization’s resources would continue into future years, as it would need to

dedicate larger portions of its staff and monetary resources toward ensuring that members’ votes

are not rejected. These efforts will come at the expense of other organizational priorities.

       Finally, courts routinely find that public interest organizations, such as the Wisconsin

NAACP, should be granted intervention in voting and other election-related cases, recognizing the

significantly protectable interests such organizations have in the electoral process. See, e.g., Texas

v. United States, 798 F. 3d 1108, 1111 (D. C. Cir. 2015); Pub. Interest Legal Found., Inc. v. Winfrey,

463 F.Supp.3d 795 (E. D. Mich. 2020); Kobach v U. S. Election Assistance Comm’n, No. 13-cv-

04095, 2013 WL 6511874 (D. Kan. Dec.12, 2013); LaRoque v. Holder, No. 1:10-cv-00561 (D. D.

C. Aug. 25, 2010). This case is no exception.

       C.      Disposition of this Case May Impair Applicants’ Interests.

       Applicants also satisfy the third prong of the intervention analysis because the disposition

of this action may impair or impede their ability to protect their interests. Importantly, applicants

need show only that their interests may be impaired if intervention is denied, not that that their

interests will be impaired. See Brumfield v. Dodd, 749 F.3d 339, 344 (5th Cir. 2014) (holding that

proposed intervenor need show only that its interest “may” be impaired).

       When proposed intervenors have a protectible interest in the outcome of the litigation, courts

have “little difficulty concluding” that their interests will be impaired. Citizens for Balanced Use v.

Mont. Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir. 2011). When considering this factor, courts

“look[] to the ‘practical consequences’ of denying intervention.” Nat. Res. Def. Council v. Costle, 561

F.2d 904, 909 (D.C. Cir. 1977); see also Advisory Comm. to Fed. R. Civ. P. 24 1966 Amendment (“If


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an absentee would be substantially affected in a practical sense by the determination made in an action,

he should, as a general rule, be entitled to intervene. . . .”). Intervention is warranted if the proposed

remedy threatens to harm intervenors. See, e.g., Flying J, Inc. v. Van Hollen, 578 F.3d 569, 572 (7th

Cir. 2009) (granting intervention when proposed intervenors “would be directly rather than remotely

harmed by the invalidation” of challenged statute).

        Here, the requested remedy and harm are extreme—Plaintiffs seek relief that would not just

burden the individual Applicants and the Wisconsin NAACP’s members but would completely

disenfranchise hundreds of thousands of Wisconsin voters, stripping them of their fundamental right

to vote. Applicants’ rights thus undoubtedly stand to “be affected by a proposed remedy in this

case.” See Seneca Res. Corp. v. Twp. of Highland, Elk Cty., 863 F.3d 245, 257 (3d Cir. 2017). The

individual Applicants could have their lawfully cast ballots tossed out, and the Wisconsin NAACP

is at risk of losing its ability to protect its interests and those of its members in voter participation.

        These concerns of voter disenfranchisement are amplified with respect to the

underrepresented minority communities that the Wisconsin NAACP serves. “Historically . . .

throughout the country, voter registration and election practices have interfered with the ability of

minority, low-income, and other traditionally disenfranchised communities to participate in

democracy.” Ind. State Conf. of NAACP v. Lawson, 326 F. Supp. 3d 646, 650 (S.D. Ind. 2018),

aff’d, 937 F.3d 944 (7th Cir. 2019). The Wisconsin NAACP has worked to remedy those practices,

in part, by ensuring that their voter-registration, voter-education, and get-out-the-vote efforts reach

vulnerable and underserved minority communities. Thus, the organization has a significant interest

in ensuring that Plaintiffs’ proposed relief does not harm those communities.

        D.      The Interests of Existing Defendants May Diverge from Those of Applicants.

        Applicants also meet the “minimal” burden of demonstrating that the existing parties in the

litigation may not protect their interests. Ligas ex rel. Foster v. Maram, 478 F.3d 771, 774 (7th Cir.


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2007) (“A party seeking intervention as of right must only make a showing that the representation ‘may

be’ inadequate and ‘the burden of making that showing should be treated as minimal.’”) (quoting

Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972).

       Here, the interests of the Applicants are distinct and may diverge from those of the

governmental Defendants. While the Defendants may have a generalized interest in upholding the

law, they do not have a direct interest in protecting the validity of their own votes, as do the

individual Applicants and the Wisconsin NAACP’s members, or in ensuring the broad voter access

that is fundamental to the mission of the Wisconsin NAACP. See Kobach v. U.S. Election

Assistance Comm’n, No. 13-cv-4095- EFM-DJW, 2013 WL 6511874, at *4 (D. Kan. Dec. 12,

2013) (applicants who had shown their interests in protecting voter rights, particularly in minority

and underprivileged communities, might have private interests that diverge from the public interest

of the defendant Election Assistance Commission); see also, e.g., Meek v. Metro. Dade County,

985 F.2d 1471, 1478 (11th Cir. 1993) (“The intervenors sought to advance their own interests in

achieving the greatest possible participation in the political process. Dade County, on the other

hand, was required to balance a range of interests likely to diverge from those of the intervenors.”),

abrogated on other grounds by Dillard v. Chilton Cty. Comm’n, 495 F.3d 1324 (11th Cir. 2007).

       Moreover, there are issues, positions, and claims that a governmental entity may omit that

are critical to public-interest organizations such as the Wisconsin NAACP. While Defendants are

broadly responsible for the management of elections, the interests of Applicants are very personal

to these individuals, to the organization’s members, and particularly to the Black community

whose voting rights are under siege from Plaintiffs. Their right to vote—indeed, their right to have

the lawful votes they have already cast counted—is at risk.




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II.     THE   COURT   SHOULD                  ALTERNATIVELY             GRANT         PERMISSIVE
        INTERVENTION.

        Even if the Court determines that Applicants are not entitled to intervene as a matter of

right, the Court should exercise its discretion to grant permissive intervention. The Court’s

discretion in this regard is broad, where: (1) the proposed intervenor’s claim or defense and the main

action have a question of law or fact in common, and (2) the intervention will not unduly delay or

prejudice the adjudication of the original parties’ rights. See Fed. R. Civ. P. 24(b)(1)(B) and (b)(3);

Bond v. Ultreras, 585 F.3d 1061,1070–71 (7th Cir. 2009); see also Sokaogon Chippewa Comm. v.

Babbitt, 214 F.3d 941, 949 (7th Cir. 2000) (“Permissive intervention under Rule 24(b) is wholly

discretionary.”). Even where courts deny intervention of right, they often find that permissive

intervention is nonetheless appropriate. See, e.g., City of Chicago v. Fed. Emergency Mgmt. Agency,

660 F.3d 980, 986 (7th Cir. 2011); see also Solid Waste Agency, 101 F.3d at 509.

        Applicants easily satisfy the threshold requirements for permissive intervention here. Their

motion is timely, and they seek to assert defenses that squarely address the factual and legal

premise of Plaintiffs’ claims. See Boockvar, supra, at 2-3 (holding that NAACP and individual

members satisfied the Rule 24(b) requirements for permissive intervention). Permissive

intervention is especially appropriate because the Applicants will present a perspective on key

legal and factual issues that differs from the positions of the Defendants and the other parties in

this case.

        In particular, the individual Applicants and the Wisconsin NAACP’s members are

themselves among the individual voters whose ballots Plaintiffs seek to discard. Furthermore, the

Wisconsin NAACP will be able to present a unique perspective based on its deep experience

educating, registering, and assisting voters in Wisconsin counties and constituent communities.

The Wisconsin NAACP, the NAACP affiliates in other states, and Applicants’ counsel have

litigated hundreds of voting rights cases and have experience analyzing claims such as those

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asserted here and the evidence related to them. Applicants and their counsel will draw on this

national experience and their history representing populations most likely to be impacted by the

relief that Plaintiffs seeks in framing their defense of this litigation. The Wisconsin NAACP also

represents thousands of Wisconsin voters who, along with individual Applicants, would potentially

be disenfranchised if Plaintiffs are successful in this litigation.

        Granting Applicants’ motion at this early stage of the case would not delay or prejudice the

adjudication of the original parties’ rights. See Fed. R. Civ. P. 24(b). By contrast, refusing to permit

intervention would deprive Applicants of the chance to defend their significant and protectable

interests in the litigation.

III.    THE COURT SHOULD GRANT APPLICANTS LEAVE TO FILE A RESPONSIVE
        PLEADING BY THE DEADLINE IMPOSED ON THE DEFENDANTS.

        Applicants further move for leave to file a responsive pleading no later than the deadline

that this Court sets for the current Defendants. This Court has discretion to grant a motion to

intervene that is not accompanied by a pleading where no prejudice will result to the other parties.

See Retired Chicago Police Ass'n v. City of Chicago, 7 F.3d 584, 595 (7th Cir. 1993), citing Shevlin

v. Schewe, 809 F.2d 447, 450 (7th Cir. 1987); see also City of Bangor v. Citizens Commc'ns Co.,

532 F.3d 70, 95 n.11 (1st Cir. 2008) (finding “no abuse of discretion in the district court's decision

to elevate substance over form” and excuse the failure to file a pleading with a motion to

intervene); U.S. v. Metro. St. Louis Sewer Dist., 569 F.3d 829, 834 (8th Cir. 2009) (finding that

“statement of interest satisfie[d] Rule 24(c) because it provide[d] sufficient notice to the court and

the parties of [the movant's] interests”); Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1236

n.19 (D.C. Cir. 2004) (explaining that, absent any claim of “inadequate notice,” there was “no

reason to bar intervention based solely upon” the “technical defect” of failure to attach a pleading).

“Accordingly, denial of a motion to intervene based solely on the movant's failure to attach a



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pleading, absent prejudice to any party, constitutes an abuse of discretion.” Peaje Investments LLC

v. Garcia-Padilla, 845.F3d 505, 515 (1st Cir. 2017), citing Providence Baptist Church v. Hillandale

Comm., Ltd., 425 F.3d 309, 314–15 (6th Cir. 2005).

       This motion is being filed at the very outset of the litigation, and granting this motion in

the absence of a proposed responsive pleading will not delay or prejudice any party, as Defendants

have themselves not yet filed a responsive pleading and this brief provides sufficient notice of the

basis for intervention and the defenses that Applicants will assert. Plaintiffs filed this action on

November 12, 2020. The undersigned were retained late in the afternoon on Friday, November 13,

2020, and this motion was filed the following day.

       Applicants contend that the Plaintiffs lack standing and, as a result, the Court lacks

jurisdiction such that the Amended Complaint should be subject to a motion to dismiss under Fed.

R. Civ. P. 12(b)(1). Applicants further contend that the claims asserted in the Amended Complaint

lack legal and factual merit so that the pleading does not state a plausible claim for relief; thus, the

Amended Complaint should also be subject to a motion to dismiss under Fed. R. Civ. P. 12(b)(6).

       With leave of court, and consistent with the Seventh Circuit’s admonition that an

intervening party “submit within a reasonable time a well-pleaded claim or defense,” Shevlin,

809 F.2d at 450 (emphasis added), Applicants propose filing their motion to dismiss no later than

whatever deadline the Court sets for the other defendants to respond to the Amended Complaint.

                                          CONCLUSION

       For the reasons stated above, the Court should grant Applicants’ motion to intervene as of

right or, in the alternative, for permissive intervention and to file a responsive pleading on the same

schedule as Defendants.

       Dated this 14th day of November, 2020.




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